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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,
                        Plaintiff,
                   v.
                                             Case No. 1:22-cv-00659 (TJK)
NANCY PELOSI, et al.,
                        Defendants.



             DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION
                  FOR AN INJUNCTION PENDING APPEAL



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                                        INTRODUCTION

       The RNC falls far short of establishing entitlement to the “exceptional remedy” of an

injunction pending appeal. John Doe Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1131

(D.C. Cir. 2017). The RNC has not shown that it is “likely that [this Court] abused its discretion

in denying a preliminary injunction” and in dismissing this case. Id. (internal quotation marks

and citation omitted). And the factors required for an injunction pending appeal weigh strongly

against the injunction that the RNC now seeks. The request for an injunction pending appeal

should therefore be denied.

       The Select Committee is in the midst of an essential investigation into one of the most

egregious attacks on the United States Capitol and on the American system of government in our

country’s history. That investigation is right now at a critical stage, with hearings scheduled for

next month. The Select Committee is continuing to gather material central to these hearings, and

the information sought from the RNC will be of considerable value in that effort. An injunction

pending appeal would deprive the Select Committee of key information relevant to its

investigation, its public hearings, and its consideration of legislation. Further delay in obtaining

the materials sought by the subpoena could obscure key facts and affect Congress’ efforts to

prevent January 6th from recurring in our next election cycle or in the future.

       Although the RNC attempts to recast the relevant question here as whether the RNC’s

case raises issues on which reasonable minds could differ, that is not the legal standard. An

applicant’s likelihood of success on the merits is a key ingredient to securing an injunction

pending appeal. And, as this Court has already concluded, the RNC does not have a likelihood

of success on the merits.




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       The RNC makes much of the irreparable injury element, but that is meaningless unless a

plaintiff has a viable claim on the merits. If not, it suffers no legally cognizable injury at all. For

these reasons alone, the Court should deny the motion.

       Furthermore, Defendants have already consented to a brief administrative stay to allow

the RNC to seek a stay pending appeal from the D.C. Circuit. As a result, this Court need not

itself impose an injunction pending appeal in order for these issues to receive a fair airing in the

court of appeals.

                                            STANDARD

       An injunction pending appeal, like a stay, is not “a matter of right,” and “[t]he party

requesting a stay bears the burden of showing that the circumstances justify an exercise of that

discretion.” Nken v. Holder, 556 U.S. 418, 433-34 (2009). “In determining whether to stay an

order pending appeal, the Court considers the same four factors as it would in resolving a motion

for a preliminary injunction: (1) whether the stay applicant has made a strong showing that he is

likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” In re Special Proc., 840 F. Supp. 2d 370, 372

(D.D.C. 2012) (internal quotation marks and citation omitted). On a motion for a stay or

injunction pending appeal, “it is the movant’s obligation to justify the court’s exercise of such an

extraordinary remedy.” Id. (internal quotation marks and citation omitted).

                                           ARGUMENT

       The RNC has not satisfied the stringent requirements for an injunction pending appeal.

This Court has already correctly determined that the RNC failed to establish an entitlement to an

injunction, and that it is not likely to succeed on the merits. The RNC “cannot show that ‘three

[non-merits] factors tip sharply in the movant’s favor,’ as required before a court can even


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arguably relax the likelihood of success on the merits standard.” MediNatura, Inc. v. Food &

Drug Admin., No. 20-2066, 2021 WL 1025835, at *7 (D.D.C. Mar. 16, 2021) (quoting In re

Special Proc., 840 F. Supp. 2d at 372).

   I.       The Standard Urged by the RNC Is Incorrect

        As a preliminary matter, the RNC is incorrect in urging that the Court should apply a

“more flexible” standard now that it moves for an injunction pending appeal. Pl.’s Mem. of Pts.

& Auth. ISO Mot. for Inj. Pending Appeal (“Mem.”) at 3 (internal quotation marks omitted).

The D.C. Circuit has never suggested that a less demanding standard applies when a movant

seeks an injunction pending appeal. To the contrary, the Supreme Court has been clear that “the

applicant” seeking an injunction pending appeal “must meet a heavy burden of showing not only

that the judgment of the lower court was erroneous on the merits, but also that the applicant will

suffer irreparable injury if the judgment is not stayed pending his appeal.” Williams v. Zbaraz,

442 U.S. 1309, 1311 (1979) (Stevens, J., in chambers) (internal quotation marks and citation

omitted). That standard should in no sense be relaxed where the Court has determined that the

Legislative Branch is entitled to the information it seeks in carrying out its Constitutional

functions. Any further delay imposed on the Select Committee would negatively affect the

separation of powers concerns that this Court has already considered. The same separation of

powers considerations that underlay this Court’s Opinion counsel against granting the RNC’s

motion for an injunction pending appeal.

        For its part, the D.C. Circuit has described an injunction pending appeal as an

“exceptional remedy,” John Doe Co., 849 F.3d at 1131, and has made clear that the movant must

satisfy the same “stringent requirements” that apply to a preliminary injunction, Archdiocese of

Washington v. Washington Metro. Area Transit Auth., 877 F.3d 1066 (D.C. Cir. 2017) (per

curiam).


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       Far from adopting a less stringent standard for injunctions pending appeal, the D.C.

Circuit has suggested, following the Supreme Court’s decision in Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008), that proving a likelihood of success on the merits is an

independent, free-standing requirement, and that it is not enough to show a “serious legal

question,” even where the other factors strongly favor issuing an injunction. See Citizens for

Resp. & Ethics in Washington v. FEC, 904 F.3d 1014, 1019 (D.C. Cir. 2018) (noting appellant’s

failure to show a likelihood of success on the merits was an “arguably fatal flaw” for a stay

application pending appeal) (citing Aamer v. Obama, 742 F.3d 1023, 1043 (D.C. Cir. 2014))

which declined to decide whether “a plaintiff need only raise a ‘serious legal question’” if “the

other three factors strongly favor issuing an injunction”); Sherley v. Sebelius, 644 F.3d 388, 393

(D.C. Cir. 2011) (“[W]e read Winter at least to suggest if not to hold ‘that a likelihood of success

is an independent, free-standing requirement for a preliminary injunction[.]’”).

       The primary case on which the RNC relies, MediNatura, does not support its position.

There, the district court held that “in rare cases, the threat of irreparable harm may be so grave

and the balance of equities may favor a plaintiff so decisively that an injunction pending appeal

of a difficult or novel legal question may be proper.” 2021 WL 1025835 at *6. In that court’s

view, other courts in this district “have relied on the ‘serious legal question’ standard for

likelihood of success on the merits ‘only when the other three factors tip sharply in the movant’s

favor.’” Id. (quoting In re Special Proc., 840 F. Supp. 2d at 372). But even if a less demanding

standard for an injunction pending appeal is ever appropriate, under the reasoning of MediNatura

an injunction is not warranted here. As explained below, the RNC has failed to show irreparable

harm, let alone “grave” irreparable harm, and the other three factors “tip sharply” in Defendants’

favor. 2021 WL 1025835 at *6-7.




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         If anything, the RNC’s burden here is even higher than in the typical case. Where, as

here, the defendants are members of a coordinate branch of government, “the well-established

rule” is “that the Government has traditionally been granted the widest latitude in the dispatch of

its own internal affairs,” and the Supreme Court has made clear that lower courts “routinely

applying . . . the traditional standards governing more orthodox stays” are “quite wrong” to do so

in cases involving government defendants. Sampson v. Murray, 415 U.S. 61, 83-84 (1974)

(internal quotation marks omitted).

   II.      The RNC Has Not Established a Sufficient Irreparable Injury

         The RNC’s theory of injury fails because it remains contingent on the same flawed theory

of harm that was fatal to the RNC’s theory of the case. The RNC does not identify any new

injury beyond its prior assumption that, if Salesforce produces the requested material and if that

material were to become public, the information “could” potentially be used to create a “mosaic”

of its email-outreach strategy that its political rivals might then use to better compete with the

RNC in the digital arena. ECF No. 8-1 at 21; ECF No. 6 ¶ 88; ECF No. 8-2 ¶¶ 18, 24-25. But,

as this Court already explained, “whatever competitive harm may come to the RNC from

disclosure of the actual material at issue is too ‘logically attenuated’ and ‘speculative’ to defeat

the Select Committee’s weighty interest.” Op. at 47 (quoting United States v. Salvation Army S.

Territory, No. 13-mc-341, 2013 WL 2632639, at *3 (D.D.C. June 12, 2013)).

         The RNC argues (Mem. at 7) that “[b]ecause the RNC is likely to succeed on its

constitutional claims, irreparable harm necessarily follows.” But far from concluding that the

RNC is likely to succeed on its constitutional claims, this Court has already held that the RNC’s

constitutional claims lack merit. See Section IV, infra. In any event, even if the RNC had

established an irreparable injury, that alone would not be enough. “A stay is an intrusion into the

ordinary processes of administration and judicial review, and accordingly is not a matter of right,


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even if irreparable injury might otherwise result to the appellant.” Nken, 556 U.S. at 427

(internal quotation marks and citations omitted).

   III.      An Injunction Pending Appeal Would Substantially Injure the Select Committee
             and Disserve the Public Interest

          The RNC advances (Mem. at 7-8) the same argument for the balance of hardship and

public interest prongs: the complaint alleges violations of constitutional rights, and therefore

these two prongs have been met. Courts, however, do not accept this logic involving

constitutional claims.

          As to balance of hardship, as noted above, Defendants are at a critical juncture as the

Select Committee approaches public hearings and is attempting to promptly complete its

investigative efforts given the gravity of the attack on Congress as an institution, the people that

sought to protect it, and the Constitutional functions occurring that day. This threat has not

dissipated, and the Select Committee has been charged with making recommendations for

legislative and other changes that will prevent future, similar attacks. If the Select Committee

cannot promptly receive the requested materials that Salesforce is prepared to provide, the

important Constitutional activities with which the Select Committee has been charged will be

hampered by a coordinate branch’s instruction to deny Congress the information to which it is

entitled. Congress would thus be less informed and less able to develop and propose effective

remedial legislation and other measures necessary to prevent the erosion of our democratic

institutions for their timely enactment by Congress. And, as another judge in this district noted

(in a case on which the RNC relies, see Mem. at 9), “the public interest also rests in carrying out

Congress’s will.” Confederated Tribes of Chehalis Rsrv. v. Mnuchin, No. 20-01002, 2020 WL

3791874, at *2 (D.D.C. July 7, 2020). Here, Congress’s will is for the Select Committee to

perform its investigation and make its recommendations.



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         Moreover, the D.C. Circuit has already recognized the vital and pressing nature of the

Select Committee’s work. See Trump v. Thompson, 20 F.4th 10, 35 (D.C. Cir. 2021) (“[T]here

would seem to be few, if any, more imperative interests squarely within Congress’s wheelhouse

than ensuring the safe and uninterrupted conduct of its constitutionally assigned business.”), cert.

denied, 142 S. Ct. 1350 (2022); see also id. at 16 (citing the current Executive’s determination

that Congress had a “‘compelling need’ to investigate ‘an unprecedented effort to obstruct the

peaceful transfer of power’ and ‘the most serious attack on the operations of the Federal

Government since the Civil War.’”).

         Defendants urge this Court to “give serious weight to the obviously disruptive effect

which the grant of the temporary relief awarded here [is] likely to have” on the Select

Committee’s investigation. Sampson, 415 U.S. at 83. The continued denial of the requested

information is not warranted given the great stakes of this investigation and the ongoing threat to

our democracy. Thus “the balance of equities and public interest favor [Defendants], such that

[the RNC] cannot show that “three factors tip sharply in the movant’s favor,” as required before

a court can even arguably relax the likelihood of success on the merits standard. MediNatura,

2021 WL 1025835 at *7 (quoting In re Special Proc.. 840 F. Supp. 2d at 372).

   IV.      The RNC Did Not Make a “Strong Showing” That This Court’s Judgment
            Would Be Reversed on Appeal

         This Court gave full consideration to each of the RNC’s claims and rejected them. And,

contrary to the RNC’s suggestion (Mem. at 1), this Court’s Opinion does not indicate that “there

were no less than a half-dozen ‘close’ calls on which the Court rightfully acknowledged that

reasonable minds could disagree.” Indeed, the quotation marks around “close” appear to be

incorrect, as the Opinion never uses that word in the manner the RNC indicates. The RNC cites




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(Mem. at 8-13) five merits issues on which it maintains it is likely to prevail on appeal.1 But

Defendants are likely to prevail—and, indeed have prevailed before this Court—on all of these

issues, and in no instance did the Court indicate that the issue was close, even though, as the

RNC notes (Mem. at 6), it described a few of the RNC’s arguments as “reasonable.” Nor did the

Court “hypothesiz[e] that it might have decided the issues differently had the circumstances been

different on the margins.” Id.2

       The RNC mainly argues (Mem. at 9-11) that it is likely to prevail on its First Amendment

claim. But nothing in the Court’s consideration of this claim supports that position. As an initial

matter, the RNC cannot argue on appeal (and does not argue here) that the Court applied the

wrong standard. The Court employed exacting scrutiny and narrow tailoring—the very

standards the RNC itself proposed. Op. at 41-43.

       Applying these standards, the Court ruled against the RNC on its First Amendment

Claims for three reasons. First, the Court held that “the Select Committee has a strong—that is, a

‘sufficiently important’—interest in the records demanded.” Op. at 44 (quoting Americans for

Prosperity Foundation v. Bonta, 141 S. Ct. 2373, 2383 (2021)). Second, “the strength of the

Select Committee’s interest here reflects the seriousness of the ‘actual burden’ the subpoena

imposes on the RNC’s First Amendment rights.” Id. at 45 (quoting Bonta, 141 S. Ct. at 2383).

Third, “the Select Committee’s demand is narrowly tailored to its interest.” Op. at 47.




       1
           The RNC does not mention that, before overturning this Court’s decision on the merits
on any of these five issues, an appellate court would first have to reach, and resolve in the RNC’s
favor, the question of whether Salesforce qualifies as a “state actor” for purposes of these claims.
See Op. at 25 (assuming without deciding that Salesforce is a state actor in this context).
         2
           In a few instances, the Court noted that “on this record” or “on the record before it” or
“on the record here.” Op. at 33, 47. But the record is closed, and the (speculative) possibility
that the RNC would prevail on a different record or under different circumstances is irrelevant to
its likelihood of success on appeal on this record and these circumstances.


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       The RNC contests only the second of these three. This Court described the RNC’s

burden arguments as “not unreasonable”—but then concluded that, “upon closer inspection, less

is at stake than the RNC represents.” Op. at 45. As the Court has noted, some of the information

that the RNC argued would cause harm upon release is already publicly available, and the RNC

has provided no basis for the Court to conclude that its communications with Salesforce would

include discussions about any proprietary data related to the performance of its email campaigns.

Id. at 45-46.

       As for the internal information that would be produced, the Court held that “this alleged

burden does not outweigh the Select Committee’s interest,” id. at 46, carefully distinguishing

AFL-CIO v. FEC, 333 F.3d 168 (D.C. Cir. 2003), and concluding that “whatever competitive

harm may come to the RNC from disclosure of the actual material at issue is too logically

attenuated and speculative to defeat the Select Committee’s weighty interest,” Op. at 47 (internal

quotation marks omitted). The RNC appears to contest only the “logically attenuated and

speculative” point, and does so on the ground (Mem. at 11) that the RNC’s declarant stated that

only three RNC employees had access to all of the relevant Salesforce platforms on which the

data to be produced is stored. This is insufficient to establish the necessary likelihood of success

on appeal. The fact that the RNC considers at least some of the relevant Salesforce platforms to

be sensitive does not prove that the disclosure of the specific information at issue represents a

non-speculative harm, let alone one sufficient to overcome the Select Committee’s compelling

need for these records.

       The RNC cites four additional issues as warranting reversal on appeal. None does. First,

the RNC argues (Mem. at 11-12) that it was improper to credit Defendants’ representations to the

Court and to Salesforce that the subpoena does not seek certain categories of records. But as this




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Court noted, and the RNC does not contest, “courts regularly credit discussion that narrows

disputes over congressional subpoenas.” Op. at 17 (citing Bean LLC v. John Doe Bank, 291 F.

Supp. 3d 34, 37 (D.D.C. 2018)).

       Second, the RNC argues (Mem. at 13) that the Select Committee’s composition violates

its authorizing resolution because the Select Committee has only nine members even though its

authorizing resolution provides that “The Speaker shall appoint 13 members,” H. Res. 503, 117th

Cong. § 2(a) (2021). The RNC notes that the Court described this argument as “not an

unreasonable position”—but the Court then provided multiple reasons for why that position is

plainly incorrect, and why the judiciary should not intrude on the House’s interpretation of its

own rules. Op. at 30-31 (noting that the House views the Select Committee as “duly constituted

and empowered to act under its authorizing resolution” with nine members; and that, if the Court

held otherwise, the Court itself “would effectively be making the Rules,” in violation of the

Rulemaking Clause (quoting United States v. Rostenkowski, 59 F.3d 1291, 1306-07 (D.C. Cir.

1995)). The only two other courts to have considered this issue have also rejected this attack on

the House’s internal proceedings. Budowich v. Pelosi, No. 21-cv-3366 (JEB) (D.D.C. Jan. 20,

2022 Oral Arg. Tr. 34:1–5, 8–10); Eastman v. Thompson, 8:22-cv-00099-DOC-DFM (C.D. Cal.

Jan. 25, 2022), ECF No. 43 at 9 & n.12.

       The RNC’s argument that “what matters here is that reasonable minds could disagree

with the Court on the use of shall in subsection 2(a)” (Mem. at 12) turns both the injunction

standard and the underlying merits standard on their heads. The injunction standard requires an

applicant to show a likelihood of success on the merits, not a mere possibility because reasonable

minds may disagree. As to the merits, a court’s jurisdiction to interpret internal rules of a House

of Congress is limited to situations where such interpretation “requires no resolution of




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ambiguities.” United States v. Durenberger, 48 F.3d 1239, 1244 (D.C. Cir. 1995)—i.e., where

reasonable minds could not disagree. “Where, however, a court cannot be confident that its

interpretation is correct, there is too great a chance that it will interpret the Rule differently than

would the Congress itself; in that circumstance, the court would effectively be making the

Rules—a power that the Rulemaking Clause reserves to each House alone.” Rostenkowski, 59

F.3d at 1306-07.

        Third, the RNC argues (Mem. at 12-13) that the subpoena violates the Fourth

Amendment. This Court correctly concluded that the RNC’s Fourth Amendment challenge is

squarely foreclosed by McPhaul v. United States, 364 U.S. 372 (1960). The RNC suggests

(Mem. at 13) that the Court’s Fourth Amendment analysis “appears influenced by the Court’s

determination of the nature of the potential harm to the RNC under the First Amendment.” Even

if so, the RNC’s Fourth Amendment claim was properly dismissed as well.

        Finally, the RNC argues (Mem. at 13) that the subpoena was not issued in service of a

valid legislative purpose. The RNC asks for an “opportunity to test the Court’s analysis before a

higher court” because “the Court acknowledged that it is ‘perhaps a reasonable conclusion to

draw’ that the ‘subpoena is serving an additional illegitimate, quasi law-enforcement purpose.’”

Id. (quoting Op. at 36). But the RNC ignores the fact that this Court dismissed this challenge in

the very same sentence: “[E]ven assuming this evidence shows that the subpoena is serving an

additional, illegitimate, quasi-law-enforcement purpose—perhaps a reasonable conclusion to

draw—precedent dictates that this purpose ‘takes nothing from the lawful object’ the Select

Committee is also pursuing.” Op. at 36-37 (quoting McGrain v. Daugherty, 273 U.S. 135, 180

(1927)).




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                                          *       *        *

       The “exceptional remedy of an injunction pending appeal,” John Doe Co., 849 F.3d at

1131, is not appropriate here. This Court already denied the RNC’s motion for a preliminary

injunction and dismissed the RNC’s case. An injunction pending appeal would allow the RNC

to delay and potentially undermine the Select Committee’s critical work. The RNC should not

be allowed—in the words of another judge on this Court in another case seeking to interfere with

the Select Committee’s work—to “do an end run around the preliminary injunction factors

simply because [it] seeks appellate review. Rather, the court maintains ‘a considerable

reluctance in granting an injunction pending appeal when to do so, in effect, is to give the

appellant the ultimate relief being sought.’” Trump v. Thompson, No. 21-cv-2769, Order, ECF

43 at 5 (D.D.C. Nov. 10, 2021) (quoting 11 Wright & Miller, Fed. Prac. & Proc. Civ., § 2904 (3d

ed. 2021)). As in Trump v. Thompson, “[w]ere the court to grant Plaintiff’s motion, the effect

would be to give Plaintiff the fruits of victory whether or not the appeal has merit.” Id. (internal

quotation marks and brackets omitted). “Plaintiff is not entitled to injunctive relief simply

because the procedural posture of this case has shifted.” Id.; see also MediNatura, 2021 WL

1025835 at *7 (“[S]etting the bar for obtaining an injunction pending appeal too low would

undermine the demanding standard for a preliminary injunction, permitting movants to skirt that

standard simply by appealing any denial.”).




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                                       CONCLUSION

       Defendants respectfully request that the Court deny the RNC’s motion for an injunction

pending appeal.

                                           Respectfully submitted,

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May 6, 2022




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2022, I caused the foregoing document to be filed via the

CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.

                                                           /s/ Douglas N. Letter
                                                           Douglas N. Letter
